                    Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 1 of 73
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                         General Civil and Domestic Relations Case Filing Information ForntLERK  OF SUPERIOR
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                                                                                                                   OCONEE COUNTY,
                                                                                                                   OCONEE COUNTY, GEORGIA
                                                                                                                                  GEORGIA

                                    Superior or [] State Court of         _Cconee
                                                                          Oconee                      County SUCV2021000286
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                                                                                                                               Angela Elder-Johns( In, Clerk
                                                                                                                               Oconee County, Ge} prgia




Plaintiff(s)                                                            Defendant(s)
Heat h, Tina
Heath,    Tina                                                          J.S.
                                                                        J.S.  Helwig &
                                                                              Helwig & Son,
                                                                                       Son, L.L.C
                                                                                            L.L.C.
Last             First               Middle I.    Suffix    Prefix       Last            First         Middle I.    Suffix     Prefix
                                                                         Hel wi g Trucking,
                                                                         Helwig   Trucking, LLC
                                                                                            LLC
Last             First               Middle I.    Suffix    Prefix       Last            First         Middle I.    Suffix     Prefix


Last             First               Middle I.    Suffix    Prefix       Last            First         Middle I.    Suffix     Prefix


Last             First               Middle I.    Suffix    Prefix       Last            First         Middle I.    Suffix     Prefix

Plaintiff's Attorney     Qdet unde, Adewale
                         Odetunde,  Adewale                                Bar Number     374418
                                                                                          374418             Self-Represented []

                                Check one case type and, if applicable, one sub-type in one box.

        General Civil Cases                                                     Domestic Relations Cases
        Vv         Automobile Tort                                              0       Adoption
        OJ         Civil Appeal                                                 0       Contempt
        (          Contract                                                             [0 Non-payment of child support,
        O          Contempt/Modification/Other                                          medical support, or alimony
                   Post-Judgment                                                0       Dissolution/Divorce/Separate
        Ol         Garnishment                                                          Maintenance/Alimony
        OJ         General Tort                                                 OU      Family Violence Petition
        OJ         Habeas Corpus                                                OU      Modification
        OJ         Injunction/Mandamus/Other Writ                                       [I Custody/Parenting Time/Visitation
        OJ         Landlord/Tenant                                              OU      Paternity/Legitimation
        OJ         Medical Malpractice Tort                                     OU      Support - IV-D
        OJ         Product Liability Tort                                       OU      Support - Private (non-IV-D)
        O          Real Property                                                0       Other Domestic Relations
        0          Restraining Petition
        0          Other General Civil

0       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                    Case Number                                         Case Number

Vv      | hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

OU      Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                                 Language(s) Required


J       Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                     EXHIBIT A                                                     Version 1.1.20
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                  SUPERIOR COURT OF OCONEE COUNTY
                                    STATE OF GEORGIA



                                                                                       ccf PS
                        CIVIL ACTION NUMBER                SUCV2021000286                                   ”


                                                                                                       G7?
    Heath, Tina

    PLAINTIFF
                                                 VS.
    1.8. Helwig & Son, L.L.C.
    Helwig Trucking, LLC

    DEFENDANTS


                                              SUMMONS
    TO: I.S. HELWIG & SON, L.L.C.

    You are hereby summoned and required to file with the Clerk of said court and serve upon the
    Plaintiff's attorney, whose name and address is:

                                Adewale Odeinnde
                                WLG Atlanta, LLC
                                600 Peachtree Street NE
                                Suite 4010
                                Atlanta, Georgia 30308

    an angwer to the complaint which is herewith served upon you, within 30 days after service of
    this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
    default will be taken against you for the relief demanded in the complaint.

   This 13th day of September, 2021.
                                                           Clerk of Superior Court




                                         (20 Pid. “Dru 0                 Angela Elder-Johnson, Clerk
                                                                         Oconee County, Georgla




                                                                                              Page 1 of 1
Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 3 of 73

              SUPERIOR COURT OF OCONEE COUNTY
                      STATE OF GEORGIA




                   CIVIL ACTION NUMBER SUCV2021000286
Heath, Tina

PLAINTIFF
                                           VS.
J.S. Helwig & Son, L.L.C.
Helwig Trucking, LLC

DEFENDANTS


                                        SUMMONS
TO: HELWIG TRUCKING, LLC

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

                            Adewale Odetunde
                            WLG Atlanta, LLC
                            600 Peachtree Street NE
                            Suite 4010
                            Atlanta, Georgia 30308

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 13th day of September, 2021.
                                                 Clerk of Superior Court




                                                                                     Page 1 of 1
           Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 4 of 73

                                                                                    CLERK OF SUPERIOR COURT
                                                                                    OCONEE COUNTY, GEORGIA
                                                                                  SUCV2021000286
                    IN THE SUPERIOR COURT OF OCONEE COUNTY                                     LL
                                STATE OF GEORGIA                                     SEP 13, 2021 05:56 PM


TINA HEATH;                                     §
                                                §                  CIVIL ACTION
       Plaintiff,                               §
                                                §
VS.                                             §          FILE NO. _______________
                                                §
JOHN DOE; J.S. HELWIG & SON,                    §
L.L.C.; AND HELWIG TRUCKING, LLC;               §
                                                §           JURY TRIAL DEMANDED
       Defendants.                              §

                                COMPLAINT FOR DAMAGES

       COMES NOW PLAINTIFF TINA HEATH (“Plaintiff”), by and through her counsel

of record and files this her Complaint for Damages showing this Honorable Court as

follows:

       1.       This is an action for personal injury damages arising out of a motor vehicle

collision that occurred on or about May 20, 2020, in Oconee County, Georgia.

                               PARTIES, JURISDICTION, AND VENUE

       2.       Plaintiff Tina Heath is a resident of Greene County, Georgia.

       3.       Plaintiff sustained personal injuries as a result of a motor vehicle collision

that occurred at approximately 6:03 p.m. on May 20, 2020, on State Route 8, in Oconee

County, Georgia.

       4.       Defendant John Doe (“John Doe”) is an unknown individual and therefore

cannot be served at this time. Plaintiff believes that Defendants J.S. Helwig & Son,

L.L.C. and/or Helwig Trucking, LLC know the identity of their driver, John Doe, which

Plaintiff intends to identity through written discovery.




                               COMPLAINT FOR DAMAGES – Page 1
          Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 5 of 73




          5.    Defendant J.S. Helwig & Son, L.L.C. is a foreign corporation doing

business in the state of Georgia and is authorized to conduct business in Georgia.

          6.    J.S. Helwig & Son, L.L.C. may be served through its registered agent,

David Watkins, at Highland Park West, 4300 MacArthur Avenue, Suite 165, Dallas,

Texas 75209.

          7.    Once served with process, J.S. Helwig & Son, L.L.C. is subject to the

jurisdiction of this Court, pursuant to O.C.G.A. § 40-1-117(b), because this action may be

brought in the county where the cause of action or some part thereof arose.

          8.    Once served with process, J.S. Helwig & Son, L.L.C. is subject to the

jurisdiction of this Court.

          9.    J.S. Helwig & Son, L.L.C. was properly served with process in this civil

action.

          10.   J.S. Helwig & Son, L.L.C. was sufficiently served with process in this civil

action.

          11.   J.S. Helwig & Son, L.L.C. is subject to the jurisdiction of this Court.

          12.   Venue in the above-styled civil action is proper as to J.S. Helwig & Son,

L.L.C. in this County and Court.

          13.   Defendant Helwig Trucking, LLC is a foreign corporation doing business in

the state of Georgia and is authorized to conduct business in Georgia.

          14.   Helwig Trucking, LLC may be served through its registered agent, Michael

Helwig, at 3030 120th Street, Chippewa Falls, Wisconsin 54729.




                              COMPLAINT FOR DAMAGES – Page 2
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          15.   Once served with process, Helwig Trucking, LLC is subject to the

jurisdiction of this Court, pursuant to O.C.G.A. § 40-1-117(b), because this action may be

brought in the county where the cause of action or some part thereof arose.

          16.   Once served with process, Helwig Trucking, LLC is subject to the

jurisdiction of this Court.

          17.   Helwig Trucking, LLC was properly served with process in this civil action.

          18.   Helwig Trucking, LLC was sufficiently served with process in this civil

action.

          19.   Helwig Trucking, LLC is subject to the jurisdiction of this Court.

          20.   Venue in the above-styled civil action is proper as to Helwig Trucking, LLC

in this County and Court.

          21.   Venue in the above-styled civil action is proper in this County and Court.

                                             FACTS

          22.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set

forth herein.

          23.   On May 20, 2020, at approximately 6:03 p.m., Plaintiff Tina Heath was

traveling eastbound on State Route 8 in Oconee County in the far-right lane.

          24.   On May 20, 2020, at approximately 6:03 p.m., John Doe was operating his

18-wheeler, owned by Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking,

LLC traveling southbound on State Route 8 in the lane immediately to Plaintiff’s left.

          25.   On May 20, 2020, at approximately 6:03 p.m., John Doe made an unsafe

lane change into Plaintiff’s lane.




                              COMPLAINT FOR DAMAGES – Page 3
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       26.    On May 20, 2020, at approximately 6:03 p.m., John Doe’s 18-wheeler

collided hard with the driver’s side of Plaintiff’s vehicle, which caused Plaintiff’s vehicle

to be trapped between the 18-wheeler and the concrete barrier.

       27.    On May 20, 2020, at approximately 6:03 p.m., immediately following the

collision, John Doe fled the scene of the collision.

       28.    As a result of the incident, Plaintiff was injured and continues to suffer

injuries and damages from this incident.

       29.    At all times related to the subject collision, Plaintiff Tina Heath was acting

in a reasonable and prudent manner.

       30.    Defendant John Doe was an employee and/or agent of Defendants J.S.

Helwig & Son, L.L.C. and/or Helwig Trucking, LLC.

       31.    Defendants do not blame Plaintiff for causing or contributing to the cause

of the subject collision.

       32.    Defendants are 100% at fault for causing the subject collision.

       33.    No act or failure to act on the part of Plaintiff caused or contributed to the

cause of the subject collision.

       34.    No act or failure to act on the part of any third party caused or contributed

to the cause of the subject collision.

       35.    No act or failure to act on the part of Plaintiff caused or contributed to the

cause of Plaintiffs’ injuries and/or damages.

       36.    No act or failure to act on the part of any third party caused or contributed

to the cause of Plaintiff’s injuries and/or damages.

       37.    Plaintiff was an innocent victim of the collision described in this Complaint.



                             COMPLAINT FOR DAMAGES – Page 4
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       38.        Defendants agree that they should fairly compensate Plaintiff for all

injuries and damages that were caused by the subject collision.

       39.        As a result of the collision, Plaintiff has suffered serious and permanent

injuries and damages.

    COUNT I: NEGLIGENCE OF DEFENDANTS J.S. HELWIG & SON, L.L.C. AND/OR HELWIG
                        TRUCKING, LLC’S DRIVER, JOHN DOE

       40.        Plaintiff re-alleges and incorporates the preceding paragraphs as if fully

set forth herein.

       41.        At all relevant times, Defendant John Doe owed the following civil duties to

Plaintiff but violated those duties in the following ways:

             a. Failing to keep such proper lookout and attention to the roadway as a

                  person of ordinary prudence would have kept under the same or similar

                  circumstances;

             b. Failing to keep an assured safe distance from Plaintiff’s vehicle;

             c. Changing lanes when unsafe to do so;

             d. Failing to drive at a reasonable and prudent speed under the conditions;

             e. Failing to make reasonable and proper observations while driving;

             f. Failing to safely operate his 18-wheeler;

             g. Failing to obey traffic laws;

             h. Failing to make reasonable and proper observations while driving;

             i.   Otherwise failing to act reasonably and prudently as a driver should under

                  the circumstances;

             j.   Operating a cellular mobile device while driving; and

             k. Fleeing the scene of a collision.


                                COMPLAINT FOR DAMAGES – Page 5
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       42.       Defendant was also negligent per se in that he violated a number of laws

and regulations governing his/her operation of his truck and trailer, including:

              a. Changing lanes when unsafe to do so (O.C.G.A. § 40-6-123);

              b. Failure to Drive Vehicle at a Reasonable and Prudent Speed Under the

                 Conditions (O.C.G.A. § 40-6-180);

              c. Failing to Drive with Due Care (O.C.G.A. § 40-6-241);

              d. Failing to Obey Traffic Laws (O.C.G.A. § 40-6-1);

              e. Reckless Driving (O.C.G.A. § 40-6-390); and

              f. Failing to immediately stop at the scene of the wreck (O.C.G.A. §40-6-270).

       43.       As a result of John Doe’s negligence, Plaintiff has suffered severe and

permanent damages.

       44.       As a direct and proximate result of the negligence and negligence per se of

Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC’s driver, John Doe,

Plaintiff is entitled to recover special damages, including but not limited to:

              a. Medical expenses in the past and in the future, in an amount that will be

                 proved at trial;

              b. Lost wages in the past and loss of earning capacity in the future, in an

                 amount that will be proved at trial; and

              c. Property damage and loss of use of her vehicle.

       45.       Plaintiff is also entitled to recover for her general damages, including but not

limited to:

              a. Shock of impact;

              b. Disability;



                                COMPLAINT FOR DAMAGES – Page 6
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             c. Loss of enjoyment of life;

             d. Disfigurement in the past and future;

             e. Physical impairment in the past and future;

             f. Physician pain and suffering in the past and future; and

             g. Mental anguish in the past and future.

   COUNT II: NEGLIGENCE OF DEFENDANTS J.S. HELWIG & SON, L.L.C. AND/OR HELWIG
                                TRUCKING, LLC

       46.      Plaintiff re-alleges and incorporates the preceding paragraphs as if fully

set forth herein.

       47.      At all times material hereto, Defendants J.S. Helwig & Son, L.L.C. and/or

Helwig Trucking, LLC’s driver, John Doe, was an employee of Defendants J.S. Helwig &

Son, L.L.C. and/or Helwig Trucking, LLC.

       48.      At all times material hereto, Defendants J.S. Helwig & Son, L.L.C. and/or

Helwig Trucking, LLC’s driver, John Doe, was acting within the scope and course of his

employment with Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC.

       49.      At all times material hereto, Defendants J.S. Helwig & Son, L.L.C. and/or

Helwig Trucking, LLC’s driver, John Doe, was an agent of J.S. Helwig & Son, L.L.C.

and/or Helwig Trucking, LLC.

       50.      At all times material hereto, Defendants J.S. Helwig & Son, L.L.C. and/or

Helwig Trucking, LLC’s driver, John Doe, was acting within the scope and course of his

agency with Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC.

       51.      At all times material hereto, Defendants J.S. Helwig & Son, L.L.C. and/or

Helwig Trucking, LLC’s driver, John Doe, was authorized by Defendants J.S. Helwig &




                              COMPLAINT FOR DAMAGES – Page 7
       Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 11 of 73




Son, L.L.C. and/or Helwig Trucking, LLC to operate the 18-wheeler that was involved in

the collision described in this Complaint.

       52.      Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC are

liable for the negligent actions and omissions of John Doe pursuant to the doctrine of

respondeat superior.

       53.      Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC’s were

the owner(s) of the 18-wheeler operated by John Doe and are therefore liable for

damages caused in this case.

       54.      Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC were

also themselves negligent in the following ways:

             a. Negligently hiring or contracting with Defendant John Doe to drive the 18-

                wheeler at issue;

             b. Negligently training John Doe;

             c. Negligently entrusting John Doe to drive the 18-wheeler professionally;

             d. Negligently retaining John Doe to drive the 18-wheeler at issue;

             e. Negligently qualifying John Doe;

             f. Failing to supervise John Doe; and

             g. Otherwise failing to act as a reasonably prudent company under the

                circumstances.

       55.      As a direct and proximate result of the negligence of Defendants J.S.

Helwig & Son, L.L.C. and/or Helwig Trucking, LLC’s driver, John Doe, in the ensuing

collision, Plaintiff sustained severe and permanent injuries and damages.




                              COMPLAINT FOR DAMAGES – Page 8
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       56.    Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC are

liable for all damages allowed by law for the damages and losses sustained by Plaintiff.

     COUNT III: COMBINED AND CONCURRING LIABILITY FOR COMPENSATORY DAMAGES

       57.    Plaintiff re-alleges and incorporates the preceding paragraphs as if fully

set forth herein.

       58.    Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC and/or

their driver, acted in a manner which either alone, and/or combined and concurring with

the actions of the other such Defendant’s acts of negligence described herein, directly

and proximately caused the collision and Plaintiff’s injuries and damages.

       59.    As a direct and proximate result of the negligence of Defendants J.S.

Helwig & Son, L.L.C. and/or Helwig Trucking, LLC and their driver, Plaintiff was

physically injured, has suffered, and will continue to suffer pain, disability, loss of

earning capacity, property damage, loss of enjoyment of life, anxiety, and related

damages.

       60.    As a direct and proximate result of the breaches of duty by Defendants,

Plaintiff is entitled to recover fair and full compensation for all injuries and damages that

have been suffered as a proximate result of the collision and that will be suffered in the

future as a result of the collision, including, without limitation, all special damages and

compensatory damages, medical expenses, property damage and loss of use, lost

wages and loss of earning capacity, and other necessary expenses, as well as fair and

full compensation for all pain and suffering, including physical pain, mental and

emotional suffering, shock of impact, disability, worry, anxiety, loss of enjoyment of life,

loss of capacity to work, and other categories of damages provided for under the law.



                             COMPLAINT FOR DAMAGES – Page 9
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                                 COUNT IV: PUNITIVE DAMAGES

       61.    Plaintiff re-alleges and incorporates the preceding paragraphs as if fully

set forth herein.

       62.    Defendants J.S. Helwig & Son, L.L.C. and/or Helwig Trucking, LLC and

their driver’s acts were knowing, willful, wanton, and/or demonstrated an entire want of

care, which raises the presumption of a conscious indifference to consequences.

       63.    The actions of Defendant motor carriers J.S. Helwig & Son, L.L.C. and/or

Helwig Trucking, LLC and their driver, as set forth herein, were done intentionally,

knowingly and willfully with a reckless and wanton disregard to the consequences and

damages that would be caused to others and/or which would raise the presumption of

conscious indifference to consequences of their misconduct.

       64.    Accordingly, Defendants J.S. Helwig & Son, L.L.C. and/or Helwig

Trucking, LLC and their driver, are liable to the Plaintiff for punitive damages to punish,

penalize, and deter others from similar conduct in the future.

       WHEREFORE, Plaintiff prays that the following relief be granted:

       a)     A trial by jury;

       b)     For Summons and Complaint to issue against each Defendant;

       c)     For judgment against each Defendant to compensate Plaintiff and minor

              Plaintiff for past and future injuries and damages;

       d)     For judgment against each Defendant for attorneys’ fees and expenses of

              litigation;

       e)     For judgment against Defendant motor carrier and its driver for punitive

              damages as shown to be fair and appropriate at the trial of this case;



                             COMPLAINT FOR DAMAGES – Page 10
     Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 14 of 73




     f)    Court costs, discretionary costs, and prejudgment interest; and

     g)    For all such further and general relief which this Court deems just and

           proper.

     Dated this 13th day of September, 2021.

                                      Respectfully submitted,

                                      WLG ATLANTA, LLC

                                      /s/ Adewale Odetunde
                                      ADEWALE ODETUNDE
                                      GEORGIA STATE BAR NUMBER 374418
                                      ATTORNEY FOR PLAINTIFF


600 PEACHTREE STREET, NE, SUITE 4010
ATLANTA, GA 30308
TELEPHONE: 470-881-8804
DIRECT:     470-480-7545
FACSIMILE: 470-881-8821
E-MAIL:     ADEWALE.ODETUNDE@WITHERITELAW.COM




                        COMPLAINT FOR DAMAGES – Page 11
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                                                                               CLERK OF SUPERIOR COURT
                                                                               OCONEE COUNTY, GEORGIA

                    IN THE SUPERIOR COURT OF OCONEE COUNTY
                                                                             SUCV2021000286
                                                                                         LL
                                STATE OF GEORGIA                               SEP 13, 2021 05:56 PM

TINA HEATH;                                  §
                                             §                CIVIL ACTION
       Plaintiff,                            §
                                             §
VS.                                          §         FILE NO. _______________
                                             §
JOHN DOE; J.S. HELWIG & SON,                 §
L.L.C.; AND HELWIG TRUCKING, LLC;            §
                                             §
       Defendants.                           §

 PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO
    DEFENDANT HELWIG TRUCKING, LLC SERVED WITH THE COMPLAINT

       COMES NOW PLAINTIFF Tina Heath in the above-captioned lawsuit and

pursuant to O.C.G.A. §§ 9-11-33, 9-11-34 and 9-11-36 hereby propounds the following

First Requests for Admissions, First Interrogatories and First Request for Production

and to Defendant Helwig Trucking, LLC for response under oath to the subject

interrogatories, pursuant to the Georgia Civil Practice Act, and as required by law.

                                      DEFINITIONS

       As used herein, the terms listed below are defined as follows:

   1. The term "Document" as used herein shall be given a very broad definition to

include every type of paper, writing, data, record, graphic, drawing, photograph, audio

recording and video recording. The term includes material in all forms, including

printed, written, recorded, or other. The term includes all files, records and data

contained in any computer system, computer component and/or computer storage (e.g.,

hard drive, disc, magnetic tape, backup system, etc.). This term includes, but is not

limited to, correspondence, reports, meeting minutes, memoranda, stenographic or



  PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO DEFENDANT
             HELWIG TRUCKING, LLC SERVED WITH THE COMPLAINT – Page 1
       Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 16 of 73



handwritten notes, diaries, notebooks, account books, orders, invoices, statements,

bills, checks, vouchers, purchase orders, studies, surveys, charts, maps, analyses,

publications, books, pamphlets, periodicals, catalogues, brochures, schedules,

circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail attachments,

data sheets, work sheets, statistical compilations, data processing cards, microfilms,

computer records (including printouts, disks or other magnetic storage media), tapes,

photographs (positive or negative prints), drawings, films, videotapes, hard drive

recordings, pictures, and voice recordings. Plaintiffs expressly intend for the term

"Document" to include every copy of such writing, etc. when such copy contains any

commentary or notation whatsoever that does not appear on the original and any

attachments or exhibits to the requested document or any other documents referred to

in the requested document or incorporated by reference.

   2. "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision

thereof.

   3. (a)     "Identify" with respect to any "person" or any reference to stating the

"identity" of any "person" means to provide the name, home address, telephone

number, business name, business address, and business telephone number of such

person, and a description of each such person's connection with the events in question.

       (b)    "Identify" with respect to any "document" or any reference to stating the

"identification" of any "document" means to provide the title and date of each such

document, the name and address of the party or parties responsible for the preparation

of each such document, the name and address of the party who requested or required


  PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO DEFENDANT
             HELWIG TRUCKING, LLC SERVED WITH THE COMPLAINT – Page 2
         Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 17 of 73



the preparation of the document or on whose behalf it was prepared, the name and

address of the recipient or recipients of each such document, and the names and

addresses of any and all persons who have custody or control of each such document,

or copies thereof.

   4. “Similar” shall have the meaning given in the American Heritage Dictionary,

which is "showing some resemblance; related in appearance or nature; alike but not

identical." As used here, the word "similar" shall not be limited as if modified by the

word "substantially" and shall not mean "the same". If you limit the information provided

because you use another interpretation of the word "similar," please state the

interpretation you are using and reveal the nature of the information withheld.

   5.    The terms “and” as well as “or” shall be each construed conjunctively and

disjunctively as necessary to bring within the scope of each interrogatory and request

for documents all information and documents that might otherwise be construed to be

outside its scope. The term “and/or” shall be construed likewise.

   6.    Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be

construed to be outside its scope: (i) the use of a verb in any tense shall be construed

as the use of the verb in all other tenses; (ii) the use of the singular shall be construed

as the use of the plural and vice versa; and (iii) “any” includes “all,” and “all” includes

“any.”

   7.    With regard to any term used herein that is deemed by the responding party as

being ambiguous or vague, a term shall be construed in its broadest sense to

encompass all reasonable definitions of that term.


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   8. "Subject Collision" means the collision described in the Complaint.

   9. “HELWIG TRUCKING, LLC,” “You”, “Your,” or “Yours” means Defendant

Helwig Trucking, LLC

   10. “JOHN DOE” as used herein refers to and means Defendant Driver John Doe.




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                   O.C.G.A. § 9-11-36 REQUESTS FOR ADMISSION

REQUEST NO. 1         At the time of the Subject Collision, John Doe was an agent of

Helwig Trucking, LLC

REQUEST NO. 2         At the time of the Subject Collision, John Doe was an employee of

Helwig Trucking, LLC

REQUEST NO. 3         At the time of the Subject Collision, John Doe was acting within the

course and scope of his employment or agency with Helwig Trucking, LLC

REQUEST NO. 4         At the time of the Subject Collision, John Doe was operating the 18-

wheeler owned by Helwig Trucking, LLC

REQUEST NO. 5         At the time of the Subject Collision, John Doe was operating the 18-

wheeler with the permission of Helwig Trucking, LLC

REQUEST NO. 6         At the time of the Subject Collision, John Doe was operating the 18-

wheeler with the knowledge of Helwig Trucking, LLC

REQUEST NO. 7         At the time of the Subject Collision, John Doe was operating the 18-

wheeler as trained by Helwig Trucking, LLC

REQUEST NO. 8         Helwig Trucking, LLC’s corporate name was properly stated in the

Complaint.

REQUEST NO. 9         Venue is proper in this Court.

REQUEST NO. 10        Jurisdiction is proper in this Court.

REQUEST NO. 11        Service of process upon Helwig Trucking, LLC in this civil action

was proper.

REQUEST NO. 12        Service of process upon Helwig Trucking, LLC in this civil action

was legally sufficient.


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REQUEST NO. 13      At the time of the collision described in this Complaint, John Doe

was responsible for the safe and reasonable operation of an 18-wheeler over the public

roadways within and throughout the State of Georgia.

REQUEST NO. 14      At the time of the collision described in this Complaint, Defendant

Helwig Trucking, LLC owned the 18-wheeler that was being operated by Defendant

John Doe.

REQUEST NO. 15      At the time of the collision described in this Complaint, Defendant

John Doe was operating an 18-wheeler over the public roadways in Georgia.

REQUEST NO. 16      At all times material to this Complaint, Helwig Trucking, LLC was

registered with the United States Department of Transportation’s Federal Motor Carrier

Safety Administration as an interstate motor carrier.

REQUEST NO. 17      At all times material hereto, Helwig Trucking, LLC was subject to

the Federal Motor Carrier Safety Regulations and all subsequent amendments thereto,

promulgated, approved, and adopted by the United States Department of

Transportation contained in Title 49 of the Code of Federal Regulations.

REQUEST NO. 18      At the time of the collision described in this Complaint, John Doe

was operating an 18-wheeler in the furtherance of Defendant Helwig Trucking, LLC’s

business.

REQUEST NO. 19      At the time of the collision described in this Complaint, John Doe

was responsible for the safe and reasonable operation of an 18-wheeler over the public

roadways within and throughout the State of Georgia.




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REQUEST NO. 20       At the time of the collision described in this Complaint, Defendant

John Doe was acting within the course and scope of his employment with Defendant

Helwig Trucking, LLC

REQUEST NO. 21       At the time of the collision described in this Complaint, Defendant

John Doe was acting within the course and scope of his agency with Defendant Helwig

Trucking, LLC

REQUEST NO. 22       On May 20, 2020, at approximately 6:03 p.m., Plaintiff Tina Heath

was traveling eastbound on State Route 8 in Oconee County in the far-right lane.

REQUEST NO. 23       On May 20, 2020, at approximately 6:03 p.m., John Doe was

operating his 18-wheeler, owned by Defendants Helwig Trucking, LLC and/or Helwig

Trucking, LLC traveling southbound on State Route 8 in the lane immediately to

Plaintiff’s left.

REQUEST NO. 24       On May 20, 2020, at approximately 6:03 p.m., John Doe made an

unsafe lane change into Plaintiff’s lane.

REQUEST NO. 25       On May 20, 2020, at approximately 6:03 p.m., John Doe’s 18-

wheeler collided hard with the driver’s side of Plaintiff’s vehicle, which caused Plaintiff’s

vehicle to be trapped between the 18-wheeler and the concrete barrier.

REQUEST NO. 26       On May 20, 2020, at approximately 6:03 p.m., immediately

following the collision, John Doe fled the scene of the collision.




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REQUEST NO. 15       Diagram No. 1 below is a not to scale diagram depicting the

collision described in this Complaint.




                                         Diagram No. 1

REQUEST NO. 16       The force of the collision caused Plaintiff to suffer injuries and

damages.

REQUEST NO. 17       The collision caused Plaintiff to suffer injuries and damages.

REQUEST NO. 18       Defendant Helwig Trucking, LLC conducted its own investigation into

the cause of the subject collision.

REQUEST NO. 27       Defendant Helwig Trucking, LLC concluded that Defendant John

Doe was the sole cause of the subject collision.

REQUEST NO. 28       Following the collision described in this Complaint, Defendant

Helwig Trucking, LLC disciplined Defendant John Doe.




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REQUEST NO. 29       Defendant Helwig Trucking, LLC and/or its driver are 100% at fault

for causing the subject collision.

REQUEST NO. 30       No act or failure to act on the part of the Plaintiff caused or

contributed to the cause of the subject collision described in this Complaint.

REQUEST NO. 31       No act or failure to act on the part of any third party caused or

contributed to the cause of the subject collision.

REQUEST NO. 32       No act or failure to act on the part of any third party caused or

contributed to the cause of the subject collision.

REQUEST NO. 33       No act or failure to act on the part of Plaintiff caused or contributed

to Plaintiff’s claimed injuries or damages.

REQUEST NO. 34       No act or failure to act on the part of any third party caused or

contributed to the cause of the subject collision.

REQUEST NO. 35       Plaintiff was an innocent victim in the subject collision described in

his Complaint.

REQUEST NO. 36       Defendant Helwig Trucking, LLC agrees that Defendants should

fairly compensate Plaintiff for all injuries and damages that are shown to have been

more likely than not caused by the subject collision.

REQUEST NO. 37       Defendant John Doe agrees that Defendants should fairly

compensate Plaintiff for all injuries and damages that are shown to have been more

likely than not caused by the subject collision.

REQUEST NO. 38       Plaintiff did suffer injuries, damages, and losses as a result of the

collision described in his Complaint.




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                         O.C.G.A. § 9-11-33 INTERROGATORIES

INTERROGATORY NO. 1          Please identify the driver of the 18-wheeler that was involved

in the subject wreck on May 20, 2020 by name, address, phone number and date of

birth.

INTERROGATORY NO. 2          If you contend that Plaintiff has sued the wrong party or that

your name is incorrectly stated in this lawsuit, please explain the basis for your

contention and identify the correct legal entity for the correct party in interest to this suit.

INTERROGATORY NO. 3          For each liability insurance policy that you had in place at the

time of the Subject Collision, state the name of insurer; the policy number; the limits of

coverage; the name(s) of all insureds; and whether any insurer has offered a defense

under a reservation of rights or otherwise contested coverage for the subject case.

Please note that this interrogatory is requesting information relating to ALL insurance

coverage including excess coverage.

INTERROGATORY NO. 4          Please provide the weight of the subject 18-wheeler at the

time of the Subject Collision.

INTERROGATORY NO. 5          Explain the relationship between Defendant Helwig Trucking,

LLC and Defendant Driver John Doe at the time of the Subject Collision including his

employment status (e.g., leased driver, company driver, etc.), how he was compensated

for driving (e.g., by the hour, by the load, by the mile, salary, or other) and when the

relationship began and ended.

INTERROGATORY NO. 6          If you maintain that Defendant Driver John Doe was not

acting within the course and scope of his employment or agency at the time of the




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Subject Collision, explain the basis for your contention and identify documents and

witnesses that support your contention.

INTERROGATORY NO. 7         Identify and explain all communications of any kind between

Defendant Driver John Doe and anyone acting for or on behalf of Defendant Helwig

Trucking, LLC during the twenty-four (24) hours before and after the Subject Collision.

For each communication, identify the method of communication (cell phone,

QualComm, other), time of communication, persons involved, and the general subject.

INTERROGATORY NO. 8         Identify all Defendant Helwig Trucking, LLC’s policies,

procedures, rules, guidelines, directives, manuals, handbooks and instructions that

were in effect for Defendant Driver John Doe at the time of the Subject Collision, that

dealt with or addressed defensive and/or safe driving practices and procedures.

INTERROGATORY NO. 9         Identify all Defendant Helwig Trucking, LLC’s policies,

procedures, rules, guidelines, directives, manuals, handbooks and instructions and

training applicable to Defendant Driver John Doe regarding safe and defensive driving

practices and procedures.

INTERROGATORY NO. 10 Describe in detail when and how you first became aware that

Defendant Driver John Doe was involved in the Subject Collision including in your

answer the identity of all persons involved in the investigation of the Subject Collision,

their role and position and what information was conveyed.

INTERROGATORY NO. 11 State whether you maintain that Plaintiff or any non-party

has any responsibility of any kind for causing the Subject Collision and/or the injuries

and damages alleged in the Complaint and provide a detailed description of the basis




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for your position, including the identity of all person(s) who have any knowledge

regarding this issue and/or all documents evidencing your position.

INTERROGATORY NO. 12 Identify all persons who to your knowledge were present at

the scene of the Subject Collision at any time in the forty-eight (48) hours after the

Subject Collision and explain their role, why they were at the scene and what actions

they took.

INTERROGATORY NO. 13 Identify all person(s) who you to your knowledge have or

may have any relevant information regarding: the Subject Collision; the facts leading up

to the Subject Collision; the investigation of the Subject Collision; any party to this

action; any vehicles involved in the Subject Collision; and/or any claims or defenses

raised in this action. The purpose of this Interrogatory is to identify all witnesses whom

Defendant Helwig Trucking, LLC believes may have relevant testimony of any kind in

connection with this case.

INTERROGATORY NO. 14 Identify all photographs, motion pictures, maps, plats,

drawings, diagrams, videotapes, or other tangible or documentary evidence depicting

the scene of the Subject Collision and/or any person or vehicle involved in the Subject

Collision.

INTERROGATORY NO. 15 Did Defendant Helwig Trucking, LLC make any effort to

perform any accident review, any avoidable/non-avoidable accident determination, any

root cause analysis, any DOT reportability determination or any type of investigation or

analysis to discover the cause(s) or contributing cause(s) of the Subject Collision and/or

to evaluate whether your driver should be disciplined for any action or inactions related




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to the Subject Collision? If so, please identify all person(s) involved, all documents and

information reviewed, and all determinations.

INTERROGATORY NO. 16 Identify each person Defendant Helwig Trucking, LLC

expects to call as an expert witness at trial including in your response a summary of

each opinion the expert holds in regards to this case, the factual basis for each such

opinion, a list of all documents and evidence of any kind provided to the expert for

review and a list of all documents and evidence of any kind that support each opinion.

INTERROGATORY NO. 17 Identify each person who was involved in responding to each

of the Requests for Admission served upon you in this civil action.

INTERROGATORY NO. 18 Identify each person who provided information to the person

verifying these interrogatory responses to be used or potentially used in answering the

interrogatories.

INTERROGATORY NO. 19 For each of Plaintiff’ First Request for Admissions to

Defendant Helwig Trucking, LLC that you did not admit without qualification, explain in

detail the reason for your refusal to admit and identify all persons and documents that

support your response.

                     O.C.G.A. § 9-11-34 DOCUMENT REQUESTS

REQUEST NO. 1: Any and all documents related to the identity of the driver of the

vehicle that was involved in the subject wreck on May 20, 2020.

REQUEST NO. 2: A copy of each document utilized by you in any way in responding

to Plaintiff’s First Interrogatories to Defendant Helwig Trucking, LLC

REQUEST NO. 3: A copy of each document retention policy in effect for Helwig

Trucking, LLC at any time between the time of the Subject Incident and present.


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REQUEST NO. 4: A copy of each insurance policy (and declarations page for each

policy) that provides or may provide coverage for damages sustained in the Subject

Incident.

REQUEST NO. 5: Copies of all reservation of rights letters and/or agreements

regarding insurance coverage for the Subject Incident.

                                           DRIVER

REQUEST NO. 6: All documents setting forth the relationship between John Doe and

Helwig Trucking, LLC This includes, but is not limited to, all leases, employment

contracts, and independent contractor agreements and other contracts, agreements,

memorandum, and the like.

REQUEST NO. 7: The contents of John Doe’s driver qualification file, driver

investigation file, driver history file, and all documents that demonstrate compliance with

federal and state driver qualification laws and regulations. The requested documents

include, but are not limited to, all documents required by FMCSR, 49 CFR Part 391, and

the state equivalent thereto. If any responsive documents have been removed from the

driver qualification file, these should be produced nonetheless.

REQUEST NO. 8: All documents of any kind that relate to any pre-employment

background investigation of John Doe, including without limitation any investigation of

John Doe’s qualifications, character, driving history, training, criminal history, drug use,

financial responsibility, medical conditions, health conditions, and/or any other matter

relevant to employment with Helwig Trucking, LLC This specifically includes all data and

information obtained through FMCSA’s Pre-Employment Screening Program.

REQUEST NO. 9: All documents that relate in any way to your recruiting of John Doe.


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REQUEST NO. 10: All documents that relate in any way to you hiring John Doe.

REQUEST NO. 11: All documents that relate in any way to any orientation provided by

Helwig Trucking, LLC to John Doe.

REQUEST NO. 12: All documents that relate in any way to training of John Doe. This

includes, but is not limited to, all documents that show all training received by John Doe,

when, where, and who provided the training, and all materials used for training.

REQUEST NO. 13: All quizzes, tests, and/or other assessments (questions and

answers) ever given by or on behalf of Helwig Trucking, LLC to John Doe at any time.

An answer key should also be provided.

REQUEST NO. 14: Copies of all documents (a) explaining how John Doe was

compensated for the one (1) month leading up to and including the date of the Subject

Incident and extending one (1) week after the date of the Subject Incident; and (b)

showing any detention of wages over the same time-period.

REQUEST NO. 15: A copy of the front and back of every driver’s license issued to John

Doe (regardless of name used) in your possession, custody, and/or control.

REQUEST NO. 16: All documents placing you on notice of any violation by John Doe of

any law, ordinance, or regulation. This includes, but is not limited to, reports of violations

pursuant to Section 391.27(a) of the Federal Motor Carrier Safety Regulations, as well

as copies of citations, warnings, and inspection reports.

REQUEST NO. 17: All documents relating to any and all blood, urine, hair, or other type

of drug or alcohol testing of John Doe in your possession, custody, and/or control.

REQUEST NO. 18: A copy of all documents relating to any violation of any safety rule

or principle by John Doe at any time.


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REQUEST NO. 19: All documents of any kind that relate to any action (formal or

informal) by any supervisor or manager or anyone working by or on behalf of Helwig

Trucking, LLC directed to John Doe for the purpose of teaching, counseling, disciplining,

correcting, or otherwise managing John Doe in any way relating to the safe operation of

a commercial vehicle. This includes, but is not limited to, all disciplinary actions and the

contents of all disciplinary folders or files of any kind by whatever name called.

REQUEST NO. 20: A copy of all documents in your possession relating in any way to

any motor vehicle collision and/or accident of any kind in which John Doe has been

involved.

REQUEST NO. 21: Copies of all documents relating to any complaint, criticism, or

concern raised by any person or entity regarding the driving performance and/or safety

of John Doe. This should include, but is not limited to, customer complaints and call-ins

by motorists either to company directly or to any service (i.e., How’s My Driving? Call

800…).

REQUEST NO. 22: For each communication device (e.g., cell phones, PDAs,

smartphones, texting, and e-mailing devices, etc.) that was in the vehicle that John Doe

was operating at the time of the Subject Incident, produce all documents reflecting

usage and billing for the time-period beginning forty-eight (48) hours before the Subject

Incident and ending forty-eight (48) hours after the Subject Incident. This includes all

devices, whether owned by John Doe or not, and whether it was in use at the time of

the Subject Incident or not.

REQUEST NO. 23: Copies of all documents prepared by John Doe that describe the

Subject Incident or the circumstances leading up to the Subject Incident.


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REQUEST NO. 24: All documents evidencing any evaluation of the driving abilities,

safety, and/or performance of John Doe that have not been produced in response to the

preceding requests.

REQUEST NO. 25: A complete copy of the contents of each and every file (whether

maintained physically or electronically), regardless of what the file is called, regarding or

addressing John Doe in any way, that has not been produced in response to other

requests above.

                          HOURS OF SERVICE-RELATED DOCUMENTS

REQUEST NO. 26: A copy of all John Doe’s hours of service logs and any other

driving logs and/or time sheets for the period beginning one-hundred-eighty (180) days

before the Subject Incident and ending seven (7) days following the Subject Incident.

REQUEST NO. 27: In addition to the documents responsive to the preceding request,

produce all documents in your possession, custody, or control that demonstrate what

John Doe was doing for the time-period beginning fourteen (14) days before the Subject

Incident and ending two (2) days (2) following the Subject Incident. The requested

documents include all documents that a motor carrier division officer might use to audit

the logs of this driver, including, but not but are not limited to:

       a.     All documents evidencing hours of service not produced above (e.g., daily

       logs and time sheets as well as log audits and letters regarding hours of service);

       b.     All documents that could be used to check the accuracy of Hours of

       Service logs and/or time sheets;

       c.     All documents related to trips (including driver’s trip envelopes, trip

       reports, work reports, bills of lading, manifests, cargo documents of any kind,


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      load documents of any kind, loading and unloading records of any kind, load

      detention records of any kind, freight bills, pick-up and delivery records of any

      kind, directions (e.g., routes to take), instructions (delivery notes, times, special

      handling), driver's trip check and settlement sheets, dispatch records, mileage

      reports, weight and scale records, and receipts for fuel, food, tolls, lodging,

      permits, repairs, and/or other purchases and expenses of any kind whether

      reimbursable or not, final trip accounting documents and printouts, as well as any

      and all reports and/or summaries of any kind referencing the above information);

      d.     All documents evidencing any and all stops; and

      e.     All driver call in reports and any other documentation of any

      communications between you and John Doe.

      PLEASE NOTE – NOTHING IN THIS REQUEST SHOULD BE READ TO

      MEAN THAT PLAINTIFF IS NOT INTERESTED IN DEFENDANT

      MANTAINING ALL INFORMATION REGARDING ALL COMMERCIAL

      DRIVING ACTIVITIES FOR SIX MONTHS PRECEDING THE INCIDENT

      AT ISSUE AND SINCE THE INCIDENT AT ISSUE. THESE MATERIALS

      SHOULD BE RETAINED IN THE EVENT THEY ARE REQUESTED.

REQUEST NO. 28: A copy of all audits and summaries of John Doe’s hours of service

covering the period beginning one (1) year prior to the Subject Incident and ending

fourteen (14) days following the Subject Incident.

                                  VEHICLE INFORMATION

REQUEST NO. 29: For the vehicle involved in the Subject Incident, produce the

following documents:


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      a.      Title;

      b.      Registration;

      c.      Operators manual;

      d.      Maintenance Schedules;

      e.      All documents evidencing maintenance performed on the vehicle at any

      time within six (6) months before the Subject Incident;

      f.      All documents evidencing any inspections of the vehicle during the six (6)

      months before the Subject Incident;

      g.      All documents evidencing any repairs and/or modifications to the vehicle

      at any time within six (6) months before the Subject Incident;

      h.      All documents evidencing any repairs made to the vehicle as a result of

      the Subject collision (including insurance submissions);

      i.     All leases involving the vehicle;

      j.     Documents evidencing the purchase of the vehicle;

      k.     Documents evidencing the sale of the vehicle if it has been sold;

      l.     Documents evidencing mileage and weight at time of the Subject Incident;

      and

      m.     Copies of each and every logbook, ledger, file, or the like maintained for

      any reason regarding the vehicle.

REQUEST NO. 30: If any data is available (whether or not downloaded or retrieved)

from the vehicle or any part or system from the vehicle (e.g., engine control module

(ECM), event data recorder (EDR), Sensing Diagnostic Module (SDM), drive-train or

transmission control unit, power steering unit, airbag module, ABS or other brake


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system, or any EOBR), please produce both the printout of the data and the data file in

its original format. This request is intended to cover data for as long as it was recorded

before during and after the Subject Incident.

REQUEST NO. 31: If the vehicle at issue was equipped with a lane departure warning

system or collision warning system (e.g., VORAD), please produce the printout of the

downloaded data and to the degree possible produce the data file in its original format.

REQUEST NO. 32: Produce copies of all e-mails between John Doe and Helwig

Trucking, LLC for the time-period beginning ninety (90) days prior to the Subject

Incident and present.

REQUEST NO. 33: Produce copies of all communications and transmissions between

John Doe and Helwig Trucking, LLC that were transmitted through any system on-board

of the vehicle involved in the Subject Incident for the period beginning thirty (30) days

before the Subject Incident and ending seven (7) days after the Subject Incident. This

includes any and all satellite or cellular systems, regardless of manufacturer, and

includes, without limitation, all electronic on-board recorders (EOBRs) and system such

as those made available by Qualcomm, TransCore, SkyBitz, Fluensee, Fleetilla,

Teletrac, Lat-Lon, Telogis, GeoLogic, Cheetah, Xata, PeopleNet, and other

transportation service and product providers.

REQUEST NO. 34: If the vehicle was equipped with any on-board audio or video

recording or monitoring devices and/or any other driver or driver safety monitoring

system, please produce everything that was retrieved or could be retrieved from such

devices and systems.




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REQUEST NO. 35: To the degree that it has not been produced in response to other

requests above, produce all data of any kind that was recovered from the vehicle or

anything inside or connected to any part or system of the vehicle that was involved in

the Subject Incident.

REQUEST NO. 36: A copy of each out of service report or violation concerning the

vehicle involved in the Subject Incident from the period beginning one (1) year prior to

the Subject Incident through present. This request includes any supplements,

responses, amendments, and dispositions regarding any violation.

REQUEST NO. 37: Produce all documents evidencing damage to any vehicle or other

property as a result of the Subject Incident, including, but not limited to, repair

estimates, appraisals, purchase invoices, repair bills, and checks or drafts reflecting

payment for repair or replacement, and any other documents concerning or establishing

the value of any item of property before or after the Subject Incident.

REQUEST NO. 38: Produce all documents given to any person or entity, including any

insurance company in return for payment in whole or in part for property damage, e.g.,

loan receipt(s), release(s), assignment(s), etc.

REQUEST NO. 39: For the vehicle involved in the Subject Incident, produce all the

Driver Vehicle Inspection Reports (DVIR) from the period beginning six (6) months

before the Subject Incident and ending one (1) week after the Subject Incident.

REQUEST NO. 40: Produce all pre-trip inspection reports for the trip in question and

three (3) months prior to the date of the Subject Incident for the vehicle.




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                                           LOAD

REQUEST NO. 41: All documents that relate to the load being hauled by John Doe at

the time of the Subject Incident, including, by way of example and without limitation, all

manifests, bills of lading, weight receipts, dispatch documents, content summaries, and

documents that address the contents, ownership, pick-up, detainment, and delivery of

the load.

                                    SUBJECT INCIDENT

REQUEST NO. 42: A copy of every document related to any investigation done by or

on behalf of Helwig Trucking, LLC of the scene of the Subject Incident.

REQUEST NO. 43: All documents authored by anyone working for or on behalf of

Helwig Trucking, LLC that set forth any facts relating to the Subject Incident.

REQUEST NO. 44: All documents that explain what caused the Subject Incident.

REQUEST NO. 45: All documents assessing preventability of and/or fault for the

Subject Incident.

REQUEST NO. 46: If the scene of the Subject Incident was mapped (with a total station

or other survey equipment) within fourteen (14) days of the Subject Incident, please

produce a copy of the survey data files and all diagrams produced therefrom.

REQUEST NO. 47: Copies of all photographs, video, computer simulations, and any

other documents depicting:

       a.     Any vehicle involved in the Subject Incident;

       b.     Any person involved in the Subject Incident;

       c.     The scene of the Subject Incident; and/or




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       d.     Any evidence (roadway markings or other) relevant to the Subject

       Incident.

REQUEST NO. 48: Copies of all reports (you know what this means and it is not vague)

relating to the Subject Incident including those prepared by John Doe and those

prepared by anyone working for or on behalf of Helwig Trucking, LLC (except lawyers).

REQUEST NO. 49: A copy of all correspondence and other communications (including e-

mail) that you have had with any person other than your lawyer involving the Subject

Incident.

REQUEST NO. 50: All tapes and transcripts of conversations, interviews, and/or

statements of any person who purports to know any facts or circumstances relevant to

the issues of liability, comparative fault, causation, and/or damages in this case.

REQUEST NO. 51: If an Accident Review Board or similar entity reviewed the Subject

Incident, produce the following:

       a.     A copy of all documents (as defined) and other materials of any kind

       reviewed by said board or entity;

       b.     A copy of all reports and documents (as defined) of any kind generated by

       said board or entity;

       c.     Documents evidencing who was on the board;

       d.     Documents evidencing all criteria for review; and

       e.     Determination of preventability and all other conclusions reached by said

       board or entity.




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                        GOVERNMENTAL CONTACT AND INTERVENTION

REQUEST NO. 52: Copies of all documents sent to or received from any governmental

agency regarding the Subject Incident, the driver involved in the Subject Incident, or any

subject that is part of the basis of this lawsuit.

REQUEST NO. 53: Copy of all documents and communications of any kind related to

any CSA Intervention against your company in the past two (2) years.

                                   POLICY AND PROCEDURES

REQUEST NO. 54: Copies of all Helwig Trucking, LLC policies, procedures, rules,

guidelines, directives, manuals, handbooks, and instructions that were in effect at the

time of the Subject Incident, relating to:

       a.     Working for or with trucking company generally (e.g., employee manual or

       handbook);

       b.     Operation of any motor vehicle (e.g., driving manuals or handbooks, and

       the like);

       c.     Operation of a 18-wheeler;

       d.     Driving safety;

       e.     Defensive driving;

       f.     Compliance with federal and state laws and regulations;

       g.     Accident investigation;

       h.     Accident review boards;

       i.     Determination of preventability of accidents;

       j.     Hiring, training, and supervising drivers; and

       k.     Disciplinary actions.


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REQUEST NO. 55: Copies of each document that John Doe signed to prove that John

Doe received and/or agreed to be bound by any policies, procedures, rules, guidelines,

and/or standards of Helwig Trucking, LLC

REQUEST NO. 56: To the degree that Helwig Trucking, LLC has any rules, policies,

procedures, guidelines, driving manuals, employee handbooks, or manuals, or other

similar documents that were not provided to John Doe before the Subject Incident,

please produce them now.

REQUEST NO. 57: A complete copy of, or in the alternative, access to, each driver

safety training film, video, videotape, videocassette, audio cassette, computer program,

simulator, driver diagnostic record, or test, maintained by your company, or used by

Helwig Trucking, LLC, its personnel, agents, or employees during the year of the

Subject Incident and three (3) years prior.

REQUEST NO. 58: Copies of all industry and/or other guidelines and/or practices that

you rely upon to support your contentions in this case.

                                          COMPANY

REQUEST NO. 59: Copy of documents showing the hierarchy of managerial positions

at Helwig Trucking, LLC and who occupied such positions as of the time of the Subject

Incident and presently.

REQUEST NO. 60: A copy of each document (including articles and presentations)

prepared and/or presented by any Helwig Trucking, LLC representative relating to the

safe operation of an 18-wheeler and/or the safe operation of a trucking company in the

past five (5) years.




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REQUEST NO. 61: All company newsletters distributed during the time-period

beginning two (2) years before the Subject Incident and present.

REQUEST NO. 62: A copy of all lease and trip lease contracts applicable to John Doe

and/or any vehicle involved in the Subject Incident.

REQUEST NO. 63: Copies of any contract under which your company was operating

the 18-wheeler in question at the time of the Subject Incident.

REQUEST NO. 64: A copy of Helwig Trucking, LLC’s accident register maintained as

required by 49 CFR § 390.35.

REQUEST NO. 65: Transcripts or recordings of all depositions of corporate designees

for Helwig Trucking, LLC given in the past five (5) years in cases where it was alleged

that a driver working for Helwig Trucking, LLC caused injury or death to another person.

REQUEST NO. 66: Copies of all documents putting any third party on notice of a claim

arising from the Subject Incident.

REQUEST NO. 67: All correspondence and other communication of any kind between

you and any other defendant to this Action.

                                       MISCELLANEOUS

REQUEST NO. 68: With respect to each expert witness who may provide testimony at

the trial of this case, provide:

       a.      A copy of all documents (as that term is defined above) and items of any

       kind produced to said expert;

       b.      A copy of all documents (as that term is defined above) and items of any

       kind generated or produced by said expert;

       c.      A copy of the entire file of said expert;


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       d.      A current résumé or curriculum vitae for said expert; and

       e.      All billing records and work logs for said expert.

REQUEST NO. 69: A copy of any and all documents and other materials which support

any contention that the Subject Incident was the fault of anyone other than the

Defendants.

REQUEST NO. 70: Copies of all diagrams, graphs, illustrations, photographs, charts,

pictures, models, blow-ups, or any other document or thing, including electronically

created charts, animations, or data that you intend to utilize as an exhibit, demonstrative

exhibit, or aid in the trial of this case not previously supplied.

REQUEST NO. 71: Produce each document or thing that you contend is evidence,

proof, or support of your claims on any issue of negligence or causation as to the

Subject Incident, including, but not limited to, admissions of fault, engineering analysis,

scientific tests, and official or unofficial reports.

REQUEST NO. 72: Produce each document or thing that you contend evidences or

supports your denial of any of Plaintiffs’ Requests for Admissions.

REQUEST NO. 73: If any surveillance has been undertaken by or on behalf of Helwig

Trucking, LLC, produce a copy of all reports, photographs, video, and anything else

generated through that investigation.

       Served with the Complaint upon Defendant.




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                                   Respectfully submitted,

                                   WLG ATLANTA, LLC

                                   /s/ Adewale Odetunde
                                   ADEWALE ODETUNDE
                                   GEORGIA STATE BAR NUMBER 374418
                                   ATTORNEY FOR PLAINTIFF



600 PEACHTREE STREET, NE, SUITE 4010
ATLANTA, GA 30308
TELEPHONE: 470-881-8804
DIRECT:     470-480-7545
FACSIMILE: 470-881-8821
E-MAIL:     ADEWALE.ODETUNDE@WITHERITELAW.COM




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                                                                               CLERK OF SUPERIOR COURT
                                                                               OCONEE COUNTY, GEORGIA

                    IN THE SUPERIOR COURT OF OCONEE COUNTY
                                                                             SUCV2021000286
                                                                                         LL
                                STATE OF GEORGIA                               SEP 13, 2021 05:56 PM

TINA HEATH;                                  §
                                             §                CIVIL ACTION
       Plaintiff,                            §
                                             §
VS.                                          §         FILE NO. _______________
                                             §
JOHN DOE; J.S. HELWIG & SON,                 §
L.L.C.; AND HELWIG TRUCKING, LLC;            §
                                             §
       Defendants.                           §

 PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO
   DEFENDANT J.S. HELWIG & SON, L.L.C. SERVED WITH THE COMPLAINT

       COMES NOW PLAINTIFF Tina Heath in the above-captioned lawsuit and

pursuant to O.C.G.A. §§ 9-11-33, 9-11-34 and 9-11-36 hereby propounds the following

First Requests for Admissions, First Interrogatories and First Request for Production

and to Defendant J.S. Helwig & Son, L.L.C. for response under oath to the subject

interrogatories, pursuant to the Georgia Civil Practice Act, and as required by law.

                                      DEFINITIONS

       As used herein, the terms listed below are defined as follows:

   1. The term "Document" as used herein shall be given a very broad definition to

include every type of paper, writing, data, record, graphic, drawing, photograph, audio

recording and video recording. The term includes material in all forms, including

printed, written, recorded, or other. The term includes all files, records and data

contained in any computer system, computer component and/or computer storage (e.g.,

hard drive, disc, magnetic tape, backup system, etc.). This term includes, but is not

limited to, correspondence, reports, meeting minutes, memoranda, stenographic or



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handwritten notes, diaries, notebooks, account books, orders, invoices, statements,

bills, checks, vouchers, purchase orders, studies, surveys, charts, maps, analyses,

publications, books, pamphlets, periodicals, catalogues, brochures, schedules,

circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail attachments,

data sheets, work sheets, statistical compilations, data processing cards, microfilms,

computer records (including printouts, disks or other magnetic storage media), tapes,

photographs (positive or negative prints), drawings, films, videotapes, hard drive

recordings, pictures, and voice recordings. Plaintiffs expressly intend for the term

"Document" to include every copy of such writing, etc. when such copy contains any

commentary or notation whatsoever that does not appear on the original and any

attachments or exhibits to the requested document or any other documents referred to

in the requested document or incorporated by reference.

   2. "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision

thereof.

   3. (a)     "Identify" with respect to any "person" or any reference to stating the

"identity" of any "person" means to provide the name, home address, telephone

number, business name, business address, and business telephone number of such

person, and a description of each such person's connection with the events in question.

       (b)    "Identify" with respect to any "document" or any reference to stating the

"identification" of any "document" means to provide the title and date of each such

document, the name and address of the party or parties responsible for the preparation

of each such document, the name and address of the party who requested or required


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the preparation of the document or on whose behalf it was prepared, the name and

address of the recipient or recipients of each such document, and the names and

addresses of any and all persons who have custody or control of each such document,

or copies thereof.

   4. “Similar” shall have the meaning given in the American Heritage Dictionary,

which is "showing some resemblance; related in appearance or nature; alike but not

identical." As used here, the word "similar" shall not be limited as if modified by the

word "substantially" and shall not mean "the same". If you limit the information provided

because you use another interpretation of the word "similar," please state the

interpretation you are using and reveal the nature of the information withheld.

   5.    The terms “and” as well as “or” shall be each construed conjunctively and

disjunctively as necessary to bring within the scope of each interrogatory and request

for documents all information and documents that might otherwise be construed to be

outside its scope. The term “and/or” shall be construed likewise.

   6.    Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be

construed to be outside its scope: (i) the use of a verb in any tense shall be construed

as the use of the verb in all other tenses; (ii) the use of the singular shall be construed

as the use of the plural and vice versa; and (iii) “any” includes “all,” and “all” includes

“any.”

   7.    With regard to any term used herein that is deemed by the responding party as

being ambiguous or vague, a term shall be construed in its broadest sense to

encompass all reasonable definitions of that term.


PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO DEFENDANT J.S.
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   8. "Subject Collision" means the collision described in the Complaint.

   9. “J.S. HELWIG & SON, L.L.C.,” “You”, “Your,” or “Yours” means Defendant J.S.

Helwig & Son, L.L.C.

   10. “JOHN DOE” as used herein refers to and means Defendant Driver John Doe.




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                   O.C.G.A. § 9-11-36 REQUESTS FOR ADMISSION

REQUEST NO. 1        At the time of the Subject Collision, John Doe was an agent of J.S.

Helwig & Son, L.L.C.

REQUEST NO. 2        At the time of the Subject Collision, John Doe was an employee of

J.S. Helwig & Son, L.L.C.

REQUEST NO. 3        At the time of the Subject Collision, John Doe was acting within the

course and scope of his employment or agency with J.S. Helwig & Son, L.L.C.

REQUEST NO. 4        At the time of the Subject Collision, John Doe was operating the 18-

wheeler owned by J.S. Helwig & Son, L.L.C.

REQUEST NO. 5        At the time of the Subject Collision, John Doe was operating the 18-

wheeler with the permission of J.S. Helwig & Son, L.L.C.

REQUEST NO. 6        At the time of the Subject Collision, John Doe was operating the 18-

wheeler with the knowledge of J.S. Helwig & Son, L.L.C.

REQUEST NO. 7        At the time of the Subject Collision, John Doe was operating the 18-

wheeler as trained by J.S. Helwig & Son, L.L.C.

REQUEST NO. 8        J.S. Helwig & Son, L.L.C.’s corporate name was properly stated in

the Complaint.

REQUEST NO. 9        Venue is proper in this Court.

REQUEST NO. 10       Jurisdiction is proper in this Court.

REQUEST NO. 11       Service of process upon J.S. Helwig & Son, L.L.C. in this civil

action was proper.

REQUEST NO. 12       Service of process upon J.S. Helwig & Son, L.L.C. in this civil

action was legally sufficient.


PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO DEFENDANT J.S.
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REQUEST NO. 13       At the time of the collision described in this Complaint, John Doe

was responsible for the safe and reasonable operation of an 18-wheeler over the public

roadways within and throughout the State of Georgia.

REQUEST NO. 14       At the time of the collision described in this Complaint, Defendant

J.S. Helwig & Son, L.L.C. owned the 18-wheeler that was being operated by Defendant

John Doe.

REQUEST NO. 15       At the time of the collision described in this Complaint, Defendant

John Doe was operating an 18-wheeler over the public roadways in Georgia.

REQUEST NO. 16       At all times material to this Complaint, J.S. Helwig & Son, L.L.C.

was registered with the United States Department of Transportation’s Federal Motor

Carrier Safety Administration as an interstate motor carrier.

REQUEST NO. 17       At all times material hereto, J.S. Helwig & Son, L.L.C. was subject

to the Federal Motor Carrier Safety Regulations and all subsequent amendments

thereto, promulgated, approved, and adopted by the United States Department of

Transportation contained in Title 49 of the Code of Federal Regulations.

REQUEST NO. 18       At the time of the collision described in this Complaint, John Doe

was operating an 18-wheeler in the furtherance of Defendant J.S. Helwig & Son,

L.L.C.’s business.

REQUEST NO. 19       At the time of the collision described in this Complaint, John Doe

was responsible for the safe and reasonable operation of an 18-wheeler over the public

roadways within and throughout the State of Georgia.




PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO DEFENDANT J.S.
              HELWIG & SON, L.L.C. SERVED WITH THE COMPLAINT – Page 6
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REQUEST NO. 20       At the time of the collision described in this Complaint, Defendant

John Doe was acting within the course and scope of his employment with Defendant

J.S. Helwig & Son, L.L.C.

REQUEST NO. 21       At the time of the collision described in this Complaint, Defendant

John Doe was acting within the course and scope of his agency with Defendant J.S.

Helwig & Son, L.L.C.

REQUEST NO. 22       On May 20, 2020, at approximately 6:03 p.m., Plaintiff Tina Heath

was traveling eastbound on State Route 8 in Oconee County in the far-right lane.

REQUEST NO. 23       On May 20, 2020, at approximately 6:03 p.m., John Doe was

operating his 18-wheeler, owned by Defendants J.S. Helwig & Son, L.L.C. and/or Helwig

Trucking, LLC traveling southbound on State Route 8 in the lane immediately to

Plaintiff’s left.

REQUEST NO. 24       On May 20, 2020, at approximately 6:03 p.m., John Doe made an

unsafe lane change into Plaintiff’s lane.

REQUEST NO. 25       On May 20, 2020, at approximately 6:03 p.m., John Doe’s 18-

wheeler collided hard with the driver’s side of Plaintiff’s vehicle, which caused Plaintiff’s

vehicle to be trapped between the 18-wheeler and the concrete barrier.

REQUEST NO. 26       On May 20, 2020, at approximately 6:03 p.m., immediately

following the collision, John Doe fled the scene of the collision.




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REQUEST NO. 15       Diagram No. 1 below is a not to scale diagram depicting the

collision described in this Complaint.




                                         Diagram No. 1

REQUEST NO. 16       The force of the collision caused Plaintiff to suffer injuries and

damages.

REQUEST NO. 17       The collision caused Plaintiff to suffer injuries and damages.

REQUEST NO. 18       Defendant J.S. Helwig & Son, L.L.C. conducted its own investigation

into the cause of the subject collision.

REQUEST NO. 27       Defendant J.S. Helwig & Son, L.L.C. concluded that Defendant

John Doe was the sole cause of the subject collision.

REQUEST NO. 28       Following the collision described in this Complaint, Defendant J.S.

Helwig & Son, L.L.C. disciplined Defendant John Doe.




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REQUEST NO. 29        Defendant J.S. Helwig & Son, L.L.C. and/or its driver are 100% at

fault for causing the subject collision.

REQUEST NO. 30        No act or failure to act on the part of the Plaintiff caused or

contributed to the cause of the subject collision described in this Complaint.

REQUEST NO. 31        No act or failure to act on the part of any third party caused or

contributed to the cause of the subject collision.

REQUEST NO. 32        No act or failure to act on the part of any third party caused or

contributed to the cause of the subject collision.

REQUEST NO. 33        No act or failure to act on the part of Plaintiff caused or contributed

to Plaintiff’s claimed injuries or damages.

REQUEST NO. 34        No act or failure to act on the part of any third party caused or

contributed to the cause of the subject collision.

REQUEST NO. 35        Plaintiff was an innocent victim in the subject collision described in

his Complaint.

REQUEST NO. 36        Defendant J.S. Helwig & Son, L.L.C. agrees that Defendants

should fairly compensate Plaintiff for all injuries and damages that are shown to have

been more likely than not caused by the subject collision.

REQUEST NO. 37        Defendant John Doe agrees that Defendants should fairly

compensate Plaintiff for all injuries and damages that are shown to have been more

likely than not caused by the subject collision.

REQUEST NO. 38        Plaintiff did suffer injuries, damages, and losses as a result of the

collision described in his Complaint.




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                         O.C.G.A. § 9-11-33 INTERROGATORIES

INTERROGATORY NO. 1          Please identify the driver of the 18-wheeler that was involved

in the subject wreck on May 20, 2020 by name, address, phone number and date of

birth.

INTERROGATORY NO. 2          If you contend that Plaintiff has sued the wrong party or that

your name is incorrectly stated in this lawsuit, please explain the basis for your

contention and identify the correct legal entity for the correct party in interest to this suit.

INTERROGATORY NO. 3          For each liability insurance policy that you had in place at the

time of the Subject Collision, state the name of insurer; the policy number; the limits of

coverage; the name(s) of all insureds; and whether any insurer has offered a defense

under a reservation of rights or otherwise contested coverage for the subject case.

Please note that this interrogatory is requesting information relating to ALL insurance

coverage including excess coverage.

INTERROGATORY NO. 4          Please provide the weight of the subject 18-wheeler at the

time of the Subject Collision.

INTERROGATORY NO. 5          Explain the relationship between Defendant J.S. Helwig &

Son, L.L.C. and Defendant Driver John Doe at the time of the Subject Collision including

his employment status (e.g., leased driver, company driver, etc.), how he was

compensated for driving (e.g., by the hour, by the load, by the mile, salary, or other) and

when the relationship began and ended.

INTERROGATORY NO. 6          If you maintain that Defendant Driver John Doe was not

acting within the course and scope of his employment or agency at the time of the




PLAINTIFF TINA HEATH’S FIRST COMBINED SET OF WRITTEN DISCOVERY TO DEFENDANT J.S.
              HELWIG & SON, L.L.C. SERVED WITH THE COMPLAINT – Page 10
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Subject Collision, explain the basis for your contention and identify documents and

witnesses that support your contention.

INTERROGATORY NO. 7         Identify and explain all communications of any kind between

Defendant Driver John Doe and anyone acting for or on behalf of Defendant J.S. Helwig

& Son, L.L.C. during the twenty-four (24) hours before and after the Subject Collision.

For each communication, identify the method of communication (cell phone,

QualComm, other), time of communication, persons involved, and the general subject.

INTERROGATORY NO. 8         Identify all Defendant J.S. Helwig & Son, L.L.C.’s policies,

procedures, rules, guidelines, directives, manuals, handbooks and instructions that

were in effect for Defendant Driver John Doe at the time of the Subject Collision, that

dealt with or addressed defensive and/or safe driving practices and procedures.

INTERROGATORY NO. 9         Identify all Defendant J.S. Helwig & Son, L.L.C.’s policies,

procedures, rules, guidelines, directives, manuals, handbooks and instructions and

training applicable to Defendant Driver John Doe regarding safe and defensive driving

practices and procedures.

INTERROGATORY NO. 10 Describe in detail when and how you first became aware that

Defendant Driver John Doe was involved in the Subject Collision including in your

answer the identity of all persons involved in the investigation of the Subject Collision,

their role and position and what information was conveyed.

INTERROGATORY NO. 11 State whether you maintain that Plaintiff or any non-party

has any responsibility of any kind for causing the Subject Collision and/or the injuries

and damages alleged in the Complaint and provide a detailed description of the basis




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              HELWIG & SON, L.L.C. SERVED WITH THE COMPLAINT – Page 11
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for your position, including the identity of all person(s) who have any knowledge

regarding this issue and/or all documents evidencing your position.

INTERROGATORY NO. 12 Identify all persons who to your knowledge were present at

the scene of the Subject Collision at any time in the forty-eight (48) hours after the

Subject Collision and explain their role, why they were at the scene and what actions

they took.

INTERROGATORY NO. 13 Identify all person(s) who you to your knowledge have or

may have any relevant information regarding: the Subject Collision; the facts leading up

to the Subject Collision; the investigation of the Subject Collision; any party to this

action; any vehicles involved in the Subject Collision; and/or any claims or defenses

raised in this action. The purpose of this Interrogatory is to identify all witnesses whom

Defendant J.S. Helwig & Son, L.L.C. believes may have relevant testimony of any kind

in connection with this case.

INTERROGATORY NO. 14 Identify all photographs, motion pictures, maps, plats,

drawings, diagrams, videotapes, or other tangible or documentary evidence depicting

the scene of the Subject Collision and/or any person or vehicle involved in the Subject

Collision.

INTERROGATORY NO. 15 Did Defendant J.S. Helwig & Son, L.L.C. make any effort to

perform any accident review, any avoidable/non-avoidable accident determination, any

root cause analysis, any DOT reportability determination or any type of investigation or

analysis to discover the cause(s) or contributing cause(s) of the Subject Collision and/or

to evaluate whether your driver should be disciplined for any action or inactions related




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to the Subject Collision? If so, please identify all person(s) involved, all documents and

information reviewed, and all determinations.

INTERROGATORY NO. 16 Identify each person Defendant J.S. Helwig & Son, L.L.C.

expects to call as an expert witness at trial including in your response a summary of

each opinion the expert holds in regards to this case, the factual basis for each such

opinion, a list of all documents and evidence of any kind provided to the expert for

review and a list of all documents and evidence of any kind that support each opinion.

INTERROGATORY NO. 17 Identify each person who was involved in responding to each

of the Requests for Admission served upon you in this civil action.

INTERROGATORY NO. 18 Identify each person who provided information to the person

verifying these interrogatory responses to be used or potentially used in answering the

interrogatories.

INTERROGATORY NO. 19 For each of Plaintiff’ First Request for Admissions to

Defendant J.S. Helwig & Son, L.L.C. that you did not admit without qualification, explain

in detail the reason for your refusal to admit and identify all persons and documents that

support your response.

                     O.C.G.A. § 9-11-34 DOCUMENT REQUESTS

REQUEST NO. 1: Any and all documents related to the identity of the driver of the

vehicle that was involved in the subject wreck on May 20, 2020.

REQUEST NO. 2: A copy of each document utilized by you in any way in responding

to Plaintiff’s First Interrogatories to Defendant J.S. Helwig & Son, L.L.C.

REQUEST NO. 3: A copy of each document retention policy in effect for J.S. Helwig &

Son, L.L.C. at any time between the time of the Subject Incident and present.


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REQUEST NO. 4: A copy of each insurance policy (and declarations page for each

policy) that provides or may provide coverage for damages sustained in the Subject

Incident.

REQUEST NO. 5: Copies of all reservation of rights letters and/or agreements

regarding insurance coverage for the Subject Incident.

                                           DRIVER

REQUEST NO. 6: All documents setting forth the relationship between John Doe and

J.S. Helwig & Son, L.L.C. This includes, but is not limited to, all leases, employment

contracts, and independent contractor agreements and other contracts, agreements,

memorandum, and the like.

REQUEST NO. 7: The contents of John Doe’s driver qualification file, driver

investigation file, driver history file, and all documents that demonstrate compliance with

federal and state driver qualification laws and regulations. The requested documents

include, but are not limited to, all documents required by FMCSR, 49 CFR Part 391, and

the state equivalent thereto. If any responsive documents have been removed from the

driver qualification file, these should be produced nonetheless.

REQUEST NO. 8: All documents of any kind that relate to any pre-employment

background investigation of John Doe, including without limitation any investigation of

John Doe’s qualifications, character, driving history, training, criminal history, drug use,

financial responsibility, medical conditions, health conditions, and/or any other matter

relevant to employment with J.S. Helwig & Son, L.L.C. This specifically includes all data

and information obtained through FMCSA’s Pre-Employment Screening Program.

REQUEST NO. 9: All documents that relate in any way to your recruiting of John Doe.


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REQUEST NO. 10: All documents that relate in any way to you hiring John Doe.

REQUEST NO. 11: All documents that relate in any way to any orientation provided by

J.S. Helwig & Son, L.L.C. to John Doe.

REQUEST NO. 12: All documents that relate in any way to training of John Doe. This

includes, but is not limited to, all documents that show all training received by John Doe,

when, where, and who provided the training, and all materials used for training.

REQUEST NO. 13: All quizzes, tests, and/or other assessments (questions and

answers) ever given by or on behalf of J.S. Helwig & Son, L.L.C. to John Doe at any

time. An answer key should also be provided.

REQUEST NO. 14: Copies of all documents (a) explaining how John Doe was

compensated for the one (1) month leading up to and including the date of the Subject

Incident and extending one (1) week after the date of the Subject Incident; and (b)

showing any detention of wages over the same time-period.

REQUEST NO. 15: A copy of the front and back of every driver’s license issued to John

Doe (regardless of name used) in your possession, custody, and/or control.

REQUEST NO. 16: All documents placing you on notice of any violation by John Doe of

any law, ordinance, or regulation. This includes, but is not limited to, reports of violations

pursuant to Section 391.27(a) of the Federal Motor Carrier Safety Regulations, as well

as copies of citations, warnings, and inspection reports.

REQUEST NO. 17: All documents relating to any and all blood, urine, hair, or other type

of drug or alcohol testing of John Doe in your possession, custody, and/or control.

REQUEST NO. 18: A copy of all documents relating to any violation of any safety rule

or principle by John Doe at any time.


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REQUEST NO. 19: All documents of any kind that relate to any action (formal or

informal) by any supervisor or manager or anyone working by or on behalf of J.S.

Helwig & Son, L.L.C. directed to John Doe for the purpose of teaching, counseling,

disciplining, correcting, or otherwise managing John Doe in any way relating to the safe

operation of a commercial vehicle. This includes, but is not limited to, all disciplinary

actions and the contents of all disciplinary folders or files of any kind by whatever name

called.

REQUEST NO. 20: A copy of all documents in your possession relating in any way to

any motor vehicle collision and/or accident of any kind in which John Doe has been

involved.

REQUEST NO. 21: Copies of all documents relating to any complaint, criticism, or

concern raised by any person or entity regarding the driving performance and/or safety

of John Doe. This should include, but is not limited to, customer complaints and call-ins

by motorists either to company directly or to any service (i.e., How’s My Driving? Call

800…).

REQUEST NO. 22: For each communication device (e.g., cell phones, PDAs,

smartphones, texting, and e-mailing devices, etc.) that was in the vehicle that John Doe

was operating at the time of the Subject Incident, produce all documents reflecting

usage and billing for the time-period beginning forty-eight (48) hours before the Subject

Incident and ending forty-eight (48) hours after the Subject Incident. This includes all

devices, whether owned by John Doe or not, and whether it was in use at the time of

the Subject Incident or not.




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REQUEST NO. 23: Copies of all documents prepared by John Doe that describe the

Subject Incident or the circumstances leading up to the Subject Incident.

REQUEST NO. 24: All documents evidencing any evaluation of the driving abilities,

safety, and/or performance of John Doe that have not been produced in response to the

preceding requests.

REQUEST NO. 25: A complete copy of the contents of each and every file (whether

maintained physically or electronically), regardless of what the file is called, regarding or

addressing John Doe in any way, that has not been produced in response to other

requests above.

                          HOURS OF SERVICE-RELATED DOCUMENTS

REQUEST NO. 26: A copy of all John Doe’s hours of service logs and any other

driving logs and/or time sheets for the period beginning one-hundred-eighty (180) days

before the Subject Incident and ending seven (7) days following the Subject Incident.

REQUEST NO. 27: In addition to the documents responsive to the preceding request,

produce all documents in your possession, custody, or control that demonstrate what

John Doe was doing for the time-period beginning fourteen (14) days before the Subject

Incident and ending two (2) days (2) following the Subject Incident. The requested

documents include all documents that a motor carrier division officer might use to audit

the logs of this driver, including, but not but are not limited to:

       a.     All documents evidencing hours of service not produced above (e.g., daily

       logs and time sheets as well as log audits and letters regarding hours of service);

       b.     All documents that could be used to check the accuracy of Hours of

       Service logs and/or time sheets;


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      c.     All documents related to trips (including driver’s trip envelopes, trip

      reports, work reports, bills of lading, manifests, cargo documents of any kind,

      load documents of any kind, loading and unloading records of any kind, load

      detention records of any kind, freight bills, pick-up and delivery records of any

      kind, directions (e.g., routes to take), instructions (delivery notes, times, special

      handling), driver's trip check and settlement sheets, dispatch records, mileage

      reports, weight and scale records, and receipts for fuel, food, tolls, lodging,

      permits, repairs, and/or other purchases and expenses of any kind whether

      reimbursable or not, final trip accounting documents and printouts, as well as any

      and all reports and/or summaries of any kind referencing the above information);

      d.     All documents evidencing any and all stops; and

      e.     All driver call in reports and any other documentation of any

      communications between you and John Doe.

      PLEASE NOTE – NOTHING IN THIS REQUEST SHOULD BE READ TO

      MEAN THAT PLAINTIFF IS NOT INTERESTED IN DEFENDANT

      MANTAINING ALL INFORMATION REGARDING ALL COMMERCIAL

      DRIVING ACTIVITIES FOR SIX MONTHS PRECEDING THE INCIDENT

      AT ISSUE AND SINCE THE INCIDENT AT ISSUE. THESE MATERIALS

      SHOULD BE RETAINED IN THE EVENT THEY ARE REQUESTED.

REQUEST NO. 28: A copy of all audits and summaries of John Doe’s hours of service

covering the period beginning one (1) year prior to the Subject Incident and ending

fourteen (14) days following the Subject Incident.




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                                  VEHICLE INFORMATION

REQUEST NO. 29: For the vehicle involved in the Subject Incident, produce the

following documents:

      a.     Title;

      b.     Registration;

      c.     Operators manual;

      d.     Maintenance Schedules;

      e.     All documents evidencing maintenance performed on the vehicle at any

      time within six (6) months before the Subject Incident;

      f.     All documents evidencing any inspections of the vehicle during the six (6)

      months before the Subject Incident;

      g.     All documents evidencing any repairs and/or modifications to the vehicle

      at any time within six (6) months before the Subject Incident;

      h.     All documents evidencing any repairs made to the vehicle as a result of

      the Subject collision (including insurance submissions);

      i.     All leases involving the vehicle;

      j.     Documents evidencing the purchase of the vehicle;

      k.     Documents evidencing the sale of the vehicle if it has been sold;

      l.     Documents evidencing mileage and weight at time of the Subject Incident;

      and

      m.     Copies of each and every logbook, ledger, file, or the like maintained for

      any reason regarding the vehicle.




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REQUEST NO. 30: If any data is available (whether or not downloaded or retrieved)

from the vehicle or any part or system from the vehicle (e.g., engine control module

(ECM), event data recorder (EDR), Sensing Diagnostic Module (SDM), drive-train or

transmission control unit, power steering unit, airbag module, ABS or other brake

system, or any EOBR), please produce both the printout of the data and the data file in

its original format. This request is intended to cover data for as long as it was recorded

before during and after the Subject Incident.

REQUEST NO. 31: If the vehicle at issue was equipped with a lane departure warning

system or collision warning system (e.g., VORAD), please produce the printout of the

downloaded data and to the degree possible produce the data file in its original format.

REQUEST NO. 32: Produce copies of all e-mails between John Doe and J.S. Helwig &

Son, L.L.C. for the time-period beginning ninety (90) days prior to the Subject Incident

and present.

REQUEST NO. 33: Produce copies of all communications and transmissions between

John Doe and J.S. Helwig & Son, L.L.C. that were transmitted through any system on-

board of the vehicle involved in the Subject Incident for the period beginning thirty (30)

days before the Subject Incident and ending seven (7) days after the Subject Incident.

This includes any and all satellite or cellular systems, regardless of manufacturer, and

includes, without limitation, all electronic on-board recorders (EOBRs) and system such

as those made available by Qualcomm, TransCore, SkyBitz, Fluensee, Fleetilla,

Teletrac, Lat-Lon, Telogis, GeoLogic, Cheetah, Xata, PeopleNet, and other

transportation service and product providers.




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REQUEST NO. 34: If the vehicle was equipped with any on-board audio or video

recording or monitoring devices and/or any other driver or driver safety monitoring

system, please produce everything that was retrieved or could be retrieved from such

devices and systems.

REQUEST NO. 35: To the degree that it has not been produced in response to other

requests above, produce all data of any kind that was recovered from the vehicle or

anything inside or connected to any part or system of the vehicle that was involved in

the Subject Incident.

REQUEST NO. 36: A copy of each out of service report or violation concerning the

vehicle involved in the Subject Incident from the period beginning one (1) year prior to

the Subject Incident through present. This request includes any supplements,

responses, amendments, and dispositions regarding any violation.

REQUEST NO. 37: Produce all documents evidencing damage to any vehicle or other

property as a result of the Subject Incident, including, but not limited to, repair

estimates, appraisals, purchase invoices, repair bills, and checks or drafts reflecting

payment for repair or replacement, and any other documents concerning or establishing

the value of any item of property before or after the Subject Incident.

REQUEST NO. 38: Produce all documents given to any person or entity, including any

insurance company in return for payment in whole or in part for property damage, e.g.,

loan receipt(s), release(s), assignment(s), etc.

REQUEST NO. 39: For the vehicle involved in the Subject Incident, produce all the

Driver Vehicle Inspection Reports (DVIR) from the period beginning six (6) months

before the Subject Incident and ending one (1) week after the Subject Incident.


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REQUEST NO. 40: Produce all pre-trip inspection reports for the trip in question and

three (3) months prior to the date of the Subject Incident for the vehicle.

                                           LOAD

REQUEST NO. 41: All documents that relate to the load being hauled by John Doe at

the time of the Subject Incident, including, by way of example and without limitation, all

manifests, bills of lading, weight receipts, dispatch documents, content summaries, and

documents that address the contents, ownership, pick-up, detainment, and delivery of

the load.

                                     SUBJECT INCIDENT

REQUEST NO. 42: A copy of every document related to any investigation done by or

on behalf of J.S. Helwig & Son, L.L.C. of the scene of the Subject Incident.

REQUEST NO. 43: All documents authored by anyone working for or on behalf of J.S.

Helwig & Son, L.L.C. that set forth any facts relating to the Subject Incident.

REQUEST NO. 44: All documents that explain what caused the Subject Incident.

REQUEST NO. 45: All documents assessing preventability of and/or fault for the

Subject Incident.

REQUEST NO. 46: If the scene of the Subject Incident was mapped (with a total station

or other survey equipment) within fourteen (14) days of the Subject Incident, please

produce a copy of the survey data files and all diagrams produced therefrom.

REQUEST NO. 47: Copies of all photographs, video, computer simulations, and any

other documents depicting:

       a.     Any vehicle involved in the Subject Incident;

       b.     Any person involved in the Subject Incident;


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       c.     The scene of the Subject Incident; and/or

       d.     Any evidence (roadway markings or other) relevant to the Subject

       Incident.

REQUEST NO. 48: Copies of all reports (you know what this means and it is not vague)

relating to the Subject Incident including those prepared by John Doe and those

prepared by anyone working for or on behalf of J.S. Helwig & Son, L.L.C. (except

lawyers).

REQUEST NO. 49: A copy of all correspondence and other communications (including e-

mail) that you have had with any person other than your lawyer involving the Subject

Incident.

REQUEST NO. 50: All tapes and transcripts of conversations, interviews, and/or

statements of any person who purports to know any facts or circumstances relevant to

the issues of liability, comparative fault, causation, and/or damages in this case.

REQUEST NO. 51: If an Accident Review Board or similar entity reviewed the Subject

Incident, produce the following:

       a.     A copy of all documents (as defined) and other materials of any kind

       reviewed by said board or entity;

       b.     A copy of all reports and documents (as defined) of any kind generated by

       said board or entity;

       c.     Documents evidencing who was on the board;

       d.     Documents evidencing all criteria for review; and

       e.     Determination of preventability and all other conclusions reached by said

       board or entity.


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                        GOVERNMENTAL CONTACT AND INTERVENTION

REQUEST NO. 52: Copies of all documents sent to or received from any governmental

agency regarding the Subject Incident, the driver involved in the Subject Incident, or any

subject that is part of the basis of this lawsuit.

REQUEST NO. 53: Copy of all documents and communications of any kind related to

any CSA Intervention against your company in the past two (2) years.

                                   POLICY AND PROCEDURES

REQUEST NO. 54: Copies of all J.S. Helwig & Son, L.L.C. policies, procedures, rules,

guidelines, directives, manuals, handbooks, and instructions that were in effect at the

time of the Subject Incident, relating to:

       a.     Working for or with trucking company generally (e.g., employee manual or

       handbook);

       b.     Operation of any motor vehicle (e.g., driving manuals or handbooks, and

       the like);

       c.     Operation of a 18-wheeler;

       d.     Driving safety;

       e.     Defensive driving;

       f.     Compliance with federal and state laws and regulations;

       g.     Accident investigation;

       h.     Accident review boards;

       i.     Determination of preventability of accidents;

       j.     Hiring, training, and supervising drivers; and

       k.     Disciplinary actions.


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REQUEST NO. 55: Copies of each document that John Doe signed to prove that John

Doe received and/or agreed to be bound by any policies, procedures, rules, guidelines,

and/or standards of J.S. Helwig & Son, L.L.C.

REQUEST NO. 56: To the degree that J.S. Helwig & Son, L.L.C. has any rules,

policies, procedures, guidelines, driving manuals, employee handbooks, or manuals, or

other similar documents that were not provided to John Doe before the Subject Incident,

please produce them now.

REQUEST NO. 57: A complete copy of, or in the alternative, access to, each driver

safety training film, video, videotape, videocassette, audio cassette, computer program,

simulator, driver diagnostic record, or test, maintained by your company, or used by J.S.

Helwig & Son, L.L.C., its personnel, agents, or employees during the year of the Subject

Incident and three (3) years prior.

REQUEST NO. 58: Copies of all industry and/or other guidelines and/or practices that

you rely upon to support your contentions in this case.

                                         COMPANY

REQUEST NO. 59: Copy of documents showing the hierarchy of managerial positions

at J.S. Helwig & Son, L.L.C. and who occupied such positions as of the time of the

Subject Incident and presently.

REQUEST NO. 60: A copy of each document (including articles and presentations)

prepared and/or presented by any J.S. Helwig & Son, L.L.C. representative relating to

the safe operation of an 18-wheeler and/or the safe operation of a trucking company in

the past five (5) years.




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REQUEST NO. 61: All company newsletters distributed during the time-period

beginning two (2) years before the Subject Incident and present.

REQUEST NO. 62: A copy of all lease and trip lease contracts applicable to John Doe

and/or any vehicle involved in the Subject Incident.

REQUEST NO. 63: Copies of any contract under which your company was operating

the 18-wheeler in question at the time of the Subject Incident.

REQUEST NO. 64: A copy of J.S. Helwig & Son, L.L.C.’s accident register maintained

as required by 49 CFR § 390.35.

REQUEST NO. 65: Transcripts or recordings of all depositions of corporate designees

for J.S. Helwig & Son, L.L.C. given in the past five (5) years in cases where it was

alleged that a driver working for J.S. Helwig & Son, L.L.C. caused injury or death to

another person.

REQUEST NO. 66: Copies of all documents putting any third party on notice of a claim

arising from the Subject Incident.

REQUEST NO. 67: All correspondence and other communication of any kind between

you and any other defendant to this Action.

                                       MISCELLANEOUS

REQUEST NO. 68: With respect to each expert witness who may provide testimony at

the trial of this case, provide:

       a.      A copy of all documents (as that term is defined above) and items of any

       kind produced to said expert;

       b.      A copy of all documents (as that term is defined above) and items of any

       kind generated or produced by said expert;


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       c.      A copy of the entire file of said expert;

       d.      A current résumé or curriculum vitae for said expert; and

       e.      All billing records and work logs for said expert.

REQUEST NO. 69: A copy of any and all documents and other materials which support

any contention that the Subject Incident was the fault of anyone other than the

Defendants.

REQUEST NO. 70: Copies of all diagrams, graphs, illustrations, photographs, charts,

pictures, models, blow-ups, or any other document or thing, including electronically

created charts, animations, or data that you intend to utilize as an exhibit, demonstrative

exhibit, or aid in the trial of this case not previously supplied.

REQUEST NO. 71: Produce each document or thing that you contend is evidence,

proof, or support of your claims on any issue of negligence or causation as to the

Subject Incident, including, but not limited to, admissions of fault, engineering analysis,

scientific tests, and official or unofficial reports.

REQUEST NO. 72: Produce each document or thing that you contend evidences or

supports your denial of any of Plaintiffs’ Requests for Admissions.

REQUEST NO. 73: If any surveillance has been undertaken by or on behalf of J.S.

Helwig & Son, L.L.C., produce a copy of all reports, photographs, video, and anything

else generated through that investigation.

       Served with the Complaint upon Defendant.




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                                    Respectfully submitted,

                                    WLG ATLANTA, LLC

                                    /s/ Adewale Odetunde
                                    ADEWALE ODETUNDE
                                    GEORGIA STATE BAR NUMBER 374418
                                    ATTORNEY FOR PLAINTIFF



600 PEACHTREE STREET, NE, SUITE 4010
ATLANTA, GA 30308
TELEPHONE: 470-881-8804
DIRECT:     470-480-7545
FACSIMILE: 470-881-8821
E-MAIL:     ADEWALE.ODETUNDE@WITHERITELAW.COM




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     To be served upon:
     Helwig Trucking, LLC c/o Michael Helwig, Registered Agent

 l. Wayne Turnquist, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
 boundaries of the state where service was effected, ! was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name
            / Address:           Peggy Helwig, Owner   3030 120th Street, Chippewa Falls, Wisconsin 54729
Manner of Service:               Registered Agent, Sep 20, 2021, 11:45 am EDT
Documents:                       Summons, Complaint for Damages,     Plaintiff Tina Heath's First Combined Set Of Written Discovery To
                                 Defendant   Helwig Trucking, L.L.C. Served With The Complaint {Received Sep 14, 2021 at 5:32pm EDT)

Additional Comments:
1) Successful Attempt: Sep 17, 2021, 11.40 am EDT at 3030 120th Street, Chippewa Falls, Wisconsin 54729 received by Peggy Helwig, Owner
Age: 50-55, Ethnicity: Caucasian; Gender: Female, Weight: 160; Height: 5'4", Hair: Black;

                                                                            Subscribed and sworn to before me by the affiant who is
 }                il                                                        personally known to me.
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Wayne Turnguist                 rr             Date
                                                                            Notary Public
CGA Solutions                                                               LO     ul al
723 Main Street                                                                                            CTRL            N
            GA 30083
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866-217-8581                                                                                    £&     a          BY
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                  Case 3:21-cv-00119-CAR Document 1-2 Filed 10/20/21 Page 72 of 73



                                                         AFFIDAVIT OF SERVICE

                                                                       County:                                     job:
 Case:                     Court:                                                                                   5120218
                           supertar Court of Oconee County             Qconee, GA
 SUCY2021000286
                                                                       Defendant / Respondent:
 Plaintiff / Petitioner:
                                                                       1.5. Helwig & Son, LLC. ana Helwig Trucking, tLe
 Tina Heath
                                                                       For:
 Received by:
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 CGA Solutions
 To be served upon:
                                                      Agent
 1S. Helwig & Son, L.L.C vo David Watkins, Registered
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                                                   say: | am over ine age of 18 years and not a party
1. Stephen C. Buskirk, being duly swom, depose and                                   service of the documents and informed said persan af
                                                          authorized by law to make
houndaries of the stare where service was effected, | was
the contents herein
                                                                                        MacArthur Ave Suite 165, Dallas, TX 75209-6512
Recipient Name / Address:     Davia Watkins, Registered Agent, Hignland Park West: 4300
Manner of Service:            Registered Agent, Sep 20, 202). 11:45am EDT
                                                                                       First Comoinea Set Of Written Discovery To
Documents:                     summons, Complaint for Damages, Plaintiff Tina reath’s
                                                                                                   Tina Heath's First Combined Set OF
                               Defendant Helwig Trucking, LLC Served With The Complaint, Plainuff
                                                                                      Served  With The Complaint {Received Sep 14, 202% au
                               written Discovery To Defendant §.5 Helwig & 50m. LL.C.
                               5.32pm EDT}

Additional Comments:                                                                                                           received by
                                                                Park West: 4300 MacArthur Ave Suite 165, Dallas, TX 75209-6512
1) Successful Attempt: Sep 20, 2021, 11:45 am EDT at Highland                                         61"  Hair: Brown;
                                                        Caucasian: Gender Male; Weight: 220; Height:
David Watkins, Registered Agent. Age: 70-75; Etnnicity:
positively identified seif at time of service.

                                                                         Subscrined ana sworn to before me by ng affiant who is




CGA Solutions
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 Case:                     Court:                                                                                  6120218
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                                                                       Defendant / Respondent:                      Caps
 Plaintiff / Petitioner:                                                                                                               Angela Elder Jdhnson,  Clerk
                                                                       1.5. Helwig & Son, LLC. ana Helwig Trucking, LO                                , Georgia
 Tina Heath
                                                                       For:
 Received by:
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 To be served upon:
                                                      Agent
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CGA Solutions
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sipne Mountain. GA 30083
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